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      FWD: Transfer for our friend




      Dear jcp,
      Please find attached the copy of the transfer that was ordered.
      I would appreciate it if you could confirm me receipt of this email.
      Regards
      ilb
      ______________________________________________________________________________________
      From: Lourdes Fernandez
      Sent: Tuesday, March 31, 2015 9:22 am
      To: iIbengoetxea
      Subject: FWD: Transfer for our friend


                               Secretary’s Office




      Please do not print this email unless it is absolutely necessary.
      _____________________________________________________________________________________
      From: Lourdes Fernandez
      Sent: Monday, March 30, 2015 13:36
      To: iIbengoetxea
      CC: 'luisa.lachaga@albacora.es'
      Subject: FWD: Transfer for our friend

      Good morning,
      Please find attached a copy of the TT issued today from INTEGRAL for € 109,800.
      Regards.
                               Secretary’s Office




      Please do not print this e-mail unless it is absolutely necessary.

      _____________________________________________________________________________________
      From: iIbengoetxea [mailto:Ilbengoetxea@albacora.es]
      Sent: Sunday, March 29, 2015 18:34
      To: Luisa Lachaga
      Subject: RV: Transfer for our friend

      Hi Luisa,

      C.P. called me about an hour ago and said that in a few minutes his son jcp would be giving me a call. When I received
      that call, he told me that he sent me an email with some information. I told him that I had not received any email, but later I
      realized that since it was such a strange email, I retrieved it in the deleted ones, and so you can see what it is about.




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      We will discuss on how to deal with this issue. I took advantage of C.P.'s call to ask him to tell me what he thought of the
      copy of the written document that we gave him, and he told me that he thought it was good and very precise. I told him
      about the meeting we had with the person he himself had arranged to meet with us, indicating that the conclusion we
      drew is that this matter is a legal matter, and that the boss herself insinuated that in the end the one who will have to
      clarify and resolve it will be the Legal Department of the Presidency. I also told him about his friend A.M.'s possible
      intervention, and he told me that he would take care of the matter.

      MUXU AUNDIA [unknown language]

      AITXE IÑAKI [unknown language]
      _____________________________________________________________________________________
      From: Jcp Report [mailto:reports.jcp@gmail.com]
      Sent: Wednesday, March 18, 2015 22:36
      To: ilbengoetxea
      Subject: Transfer for our friend

      Dear Inaqui,

      Our friend asked me to pass on the following information so that a transfer can be made. The first
      transfer needed is in the amount of 109,800 Euros. The information will be as follows.
      C.C.C. Number: SWIFT: VCIAES2M ES20-2103-1052-63-0030008718 FROM UNICAJA BANCO, S.A., in favor of
      ESPACIO INSIGNE, S.L.U.
      Reference: Ana Alderete.

      The balance of the securities will be [sent] to the same account but over the course of a few weeks, if it is not too much
      trouble, as we still have to agree on certain issues.

      Once the transfer has been made, I will need a receipt, if it is not too much trouble, in order to present it to the company
      that receives the transfer.

      Thank you very much and kind regards,



      NOTICE: The information contained in this email may be confidential, and for the exclusive use
      of the addressee, it is subject to professional secrecy and its disclosure is prohibited. Also,
      according to the LOPD 1 15/1999, we hereby inform you that your data will be treated in a file,
      under the responsibility of ALBACORA, S.A. for the maintenance and development of the
      established relationship, it will enjoy adequate protection and will not be transferred. You may
      access, rectify, oppose, and cancel them, at the address of this email.
      NOTICE: The information contained in this email may be confidential, and for the exclusive use
      of the addressee, it is subject to professional secrecy and its disclosure is prohibited. Also,
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      rectify, oppose, and cancel them, at the address of this email.




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       Translator’s note: Ley Orgánica de Protección de Datos de Carácter Personal - Organic Law on the Protection of
      Personal Data




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